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FLORIDA DEPARTMENT OF STATE
Division of Corporations

May 1a 2018

ELL\OT KOZOLCHYK, ESQ.
320 S.E. 9TH STREET
FOFIT LAUDERDALE, FL 33316

Pursuant to Chapter 48.181, Florida Statutes, a copy of the process and initial
pleading, case number 17-61464-C|V, was accepted for LUKASZ KOZOWY,
and was filed on l\/|ay 17, 2018, at 03:00 Pl\/l.
P|aintiff(S)
~ALFFiED- CLARK,-JR., JASON ADOLPHUS DAV|DS,
-VS_
Defendant(s)
NAT|ONWIDE HVAC CORP, ARSEN GR|TSENKO and LUKASZ KOZOWY, -'

THE SECF{ETAF{Y OF STATE DOES NOT FORWARD DC)CUMENTAT|ON TO
THE DEFENDANT.

All inquiries on behalf of the defendant should be made to the attorneys involved
‘~r’vette Scott
F'rocessor of Service

DlVlS\ON OF COF{POFIAT|ONS

Letter No. 818A00010409

Divieion of Corporatione - P.O. BOX 632'7 -Tallahassee, Florida 32314

